Case 2:20-cv-05581-DSF-GJS     Document 395 Filed 02/03/25           Page 1 of 15 Page ID
                                         ORIGINAL
                                     #:7334
                                                                               FILED

      1   EDWARD HELDMAN III
          10614 West Crosby Drive                                        ZOZSFEB -3 AMIi : 32
      2   Sun CitY: Arizona 85351
          201.679.7428
      3   Eheldman.ProPer@proton.me
      4

      5   Defendant Pro Per
      6
      7
      8                       UNITED STATES DISTRICT COURT
      9                       CENTRAL DISTRICT OF CALIFORNIA
     10

     11   BEYOND               BLOND                 Case No. 2:20-cv-05581-DSF-GJSx
     12   PRODUCTIONS, LLC, a California
          Limited Liability Company,
     13
                                                     MOTION NOTICE OF MOTION AND
                                      Plaintiff,     MOTION FOR JUDGMENT ON THE
     14                                              PLEADINGS AND/OR FOR MORE
          V.                                         DEFINITE STATEMENT POST-
     15                                              BANKRUPTCY· MOTION TO
          EDWARD HELDMAN III an                      RECONSIDER ALL PENDING PRE-
     16
          individual; COMEDYMX INC. a                BANKRUPTCY ORDERS; MOTION
          Nevada Corporation; COMBDYMX,              TO STAY ACTION PENDING
     17   a Delaware Limited Liability               COMPLETION OF BANKRUPTCY
          Company,                                   CHAPTER 11 PLAN'S DAMAGES
     18                                              PAYOUT; DECLARATION OF
                                  Defendants.        ffi:)~'1~:lli§bRiMAN III ;
     19
          COMEDYMX, a Delaware Limited               Date: March 3, 2025
     20   Liability Company,                         Time: 1:30 p.m.
     21                     Counter-claimant,        Hon. Dale S. Fischer, Judge
     22   V.                                         Courtroom: 7D
                                                                50 West First Street
     23   BEYOND BLOND                                          Los Angeles, CA 90012
          PRODUCTIONS, LLC, a
     24   California Limited Liability
          Company,
     25
                          Counter-Defendant.
     26
     27

     28

                               MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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      1          Notice is hereby given that on March 3, 2025 at 1:30 p.m. in the above-
      2   referenced Courtroom No. 7D, Defendant Edward Heldman III will and does hereby
      3   move this Court, under Fed.R.Civ.P. 12 and 59(e), and Local Rule 7-18, for orders
      4   as hereinafter listed.
      5   1.     MOTION FOR JUDGMENT ON THE PLEADINGS AND/OR FOR
                 MORE DEFINITE STATEMENT POST-BANKRUPTCY\
      6
      7          This Motion is made on the following grounds:
      8           1.   Plaintiff has repeatedly and throughout this litigation alleged that
      9   Defendant is an alter ego for his CMX companies, often to Plaintiffs benefit and
     10   advantage and Defendant's disadvantage.
     11          2. Likewise, the trustees in the bankruptcy proceedings used this alter ego
     12   argument, first to transfer Defendant's Chapter 13 case from Arizona to Delaware,
     13   and then later to have his individual case converted to a Chapter 7, and then settle
     14   with the companies and still pursue him for the exact same alleged conduct.
     15          3. A motion to dismiss by Defendants was rejected by this Court, holding
     16   Defendant Heldman under the presumption that he was CMX as the Plaintiff
     17   claimed.
     18          4. Hence, Plaintiff with unclean hands should be equitably / judicially
     19   estopped from claiming that Defendant is responsible for any damages beyond that
     20   which Plaintiff is obtaining in its bankruptcy settlement; and any such recovery from
     21   him would be entirely duplicative.
     22          5. Notably, the bankruptcy settlement figure was larger than the Plaintiffs
     23   original demand in this action for $700,000 [Exhibit 3]; they should take their pound
     24   of flesh and let that suffice.
     25          6. Judicial estoppel precludes a party from gaining an advantage by asserting
     26   one position, and then later seeking an advantage by taking a clearly inconsistent
     27   position. A party's later position must be "clearly inconsistent" with its earlier
     28   position; and assertion of an inconsistent position would derive an unfair advantage
                                   MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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      1   or impose an unfair detriment on the opposing party if not estopped. Judicial estoppel
      2   is an equitable doctrine, invoked by a court at its own discretion, and driven by the
      3   specific facts of a case.
      4          7. Alternatively, Plaintiff should be ordered to amend her complaint to
      5   provide a more definite statement re remaining liability and damages claims
      6   remaining beyond the $1 million being paid to her by the CMX companies under the
      7   bankruptcy settlement agreement, order and Chapter 11 Plan ["Bankruptcy
      8   Settlement"] [Attached hereto as Exhibit 1].
      9          8. The existence of actual damages is a material element of the Plaintiffs
     1o remaining claims.

     11   2.     MOTION TO RECONSIDER AND/OR MODIFY PENDING ORDERS
                 HEREIN'
     12
                 This Motion is made on the following grounds:
     13
                 9. In stated opposition to these motions proposed in meet and confer efforts
     14
          for these motions, Plaintiffs counsel relies on various discovery, sanctions and
     15
          contempt orders issued against ALL defendants prior to the bankruptcy proceedings.
     16
                 10. The bankruptcy proceedings and the Chapter 11 Plan that provides for a
     17
          $1 million settlement involving the CMX companies, after their removal from control
     18
          of Defendant Heldman, constitutes substantial and material changed circumstances
     19
          warranting reconsideration and modification of the orders to reflect current realities.
     20
                 11. In the Bankruptcy Settlement, all of Plaintiffs claims for liability in this
     21
          action were fully settled with CMX companies, with the agreed damages payment of
     22
          $1 million, and waiver of the Anti-Slapp Dismissal Order of$65,000 in attorney fees;
     23
          no liability or damages issues remain.
     24
                 12.   In the meet and confer for this motion, Plaintiffs counsel cites this
     25
          Court's Order [08.17.20] [Docket 26] that liability against Defendant Heldman is
     26
          predicated on his role as company officer, which means that it is the same now settled
     27
          liability claims asserted against the CMX companies.
     28
                                 MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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      1             13. Plaintiffs counsel is now also asserting the continued vitality and
      2   enforceability of pre-Bankruptcy Settlement orders in 2022, involving enforcement
      3   of discovery and discovery orders when liability and damages claims against ALL
      4   defendants were still in issue, and the remedial orders were premised on the realities
      5   and status of the case and claims at that time; this is obviously no longer the case.
      6             14. Plaintiff counsel is also engaging in new discovery from social media
      7   entities, including new third party subpoenas on social media companies to gain
      8   personal information on Heldman, and on Defendants' former pre-bankruptcy counsel
      9   which is now escalated to a motion, and threatening new contempt motions, again all
    10    premised on the dated and no longer applicable pre-Bankruptcy Settlement 2022
     11   orders.
    12              15.   In summary, these discovery, sanctions and contempt orders were
    13    premised on needs in connection with litigating the liability and damages claims
    14    against the CMX companies, which are now settled, obviating the needs.
     15             16. It is undisputed that Defendant Heldman was the sole and complete
    16    controller of all of the company business, conduct and actions, again obviating any
    17    of those needs.
    18              17. Given the Bankruptcy Settlement with the CMX companies, the material
    19    changed circumstances involving all Defendants as discussed above and below, and
    20    in the absence of any damages beyond same, there is no current and remaining legal
    21    or factual basis or justification for the sweeping and intrusive discovery demands
    22    which were the basis for the orders when all damages claims were still in issue.
    23              18. All of the orders were necessarily remedial in nature, designed only to
    24    effect litigation requirements at that time, almost all of which now longer exist.
    25              19. In the absence of the above sought more definite statement, and any
    26    factual justification therefor, and the legal and factual sufficiency of same, there is no
    27    remaining justification for the earlier orders in their current form and content, if at all.
    28

                                  MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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                 20. The pre-bankruptcy orders also occurred at a time when Defendant
      2   Heldman had relapsed in his lifetime struggle with alcohol addiction and underlying
      3   anxiety issues.
      4          21. One consequence thereto was the loss of control of the CMX companies
      5   to a bankruptcy trustee, who then effected the aforementioned Bankruptcy Settlement;
      6   another consequence is Defendant Heldman's complete loss of his sole source of
      7   income, by which he supported himself and his now 81-year old mother who suffers
      8   from multiple health issues. Heldman is sole caretaker of his mother.
      9          22. This alcohol abuse condition has since been obviated. See Declaration
     10   of Meir J. Westreich with attached updated exhibits from treating psychiatrist.
     11   [Attached hereto as Exhibit 2].
     12          23. Exhibit 2 clearly reflects that Defendant Heldman is actively addressing
     13   the alcohol abu1se issues, including underlying issues in his psychiatric treatment and
     14   had made great progress.
     15          24. This too is now a material changed circumstance since the orders.
     16          25. The orders should be dissolved or terminated on grounds that the bases,
     17   needs and justifications therefor are now moot.
     18          26. At minimum the orders must be fully reviewed in light of current factual
     19   and legal conditions, and materially altered and down-sized to reflect current realities,
     20   once the Plaintiff's showing in Paragraph 6 occurs and is approved by and in the
     21   course of necessary court proceedings.
     22   3.     MOTION TO STAY PROCEEDINGS PENDING COMPLETION OF
                 CMX BANKRUPTCY SETTLEMENT PROCEEDINGS.
     23
                 This Motion is made on the following grounds:
     24
                 27. Plaintiff has obtained a substantial $1 million Bankruptcy Settlement in
     25
          the bankruptcy action, far in excess of any previously claimed damages in this federal
     26
          action [Exhibit 3], but which will not be fully paid for another 3+ years.
     27
     28
                                 MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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      1          28. Plaintiffs current ballooned damages claims beyond that $1 million are
     2    entirely speculative and based on prospective assumptions, and Plaintiff is not
     3    entitled to double recover on damages being paid in the settlement.
     4           29. Again, the bankruptcy settlement figure was far larger than the Plaintiffs
     5    original demand in this action; Defendant was stripped entirely of his ownership
     6    rights in the CMX companies pending conclusion of the bankruptcy settlement
     7    proceedings; and, hence, Defendant has no assets or means of income, by which he
     8    supported himself and his now 81-year old mother, who suffers from multiple health
     9    issues. Heldman is sole caretaker of his mother, until the companies are restored to
    10    him.
    11           30. Conversely, Defendant once built the companies to substantial financially
    12    successful venturers, so much so that they will be able to pay the bankruptcy
    13    settlement and enabled Defendant to pay hundreds of thousands of dollars m
    14    misdirected legal fees.
    15           31. Defendant will recover the companies after the five year bankruptcy plan
    16    and settlement payoff.
    17           32. Hopefully, Defendant would again be enabled to afford counsel.
    18           33. Defendant also relies on the previously filed Declaration of Meir J.
    19    Westreich, Esq. and updated psychiatrist letters [Exhibit 2] re the sanctions motions,
    20    for the equitable considerations raised therein, both regarding Defendant's health
    21    recovery and the conduct of opposing counsel herein.
    22           34. A stay of these proceedings would enable the parties and the court to
    23    determine the following: (a) the precise recovery amount by Plaintiff from the CMX
    24    companies; (b) any actual additional damages which might in fact accrue in the
    25    interim; (c) any duplication and other equitable defenses; and (d) avoidance of
    26    wasteful and potentially unnecessary litigation expenses and judicial resources in the
    27    interim.
    28           35. This is a unique litigation situation that demands equitable handling.
                                MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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      1                       MEET AND CONFER COMPLIANCE
      2          This motion is made following meet and confer efforts pursuant to L.R. 7-3.
      3          This motion is based on the following declaration of Edward Heldman III, an
      4   earlier Declaration of Meir J. Westreich, exhibits filed herewith, and a Memorandum
      5   of Points and Authorities.
      6   Dated: January 31, 2025                        Respectfully submitted,
      7
      8
                                                               ·1?C
                                                         Edward Heldman III, Pro Per
      9
     10                  DECLARATION OF EDWARD HELDMAN III
     11          1. I am Defendant Edward Heldman II, appearing pro se.
     12          2. Defendant Edward Heldman III will and does hereby move this Court,
     13   under Fed.R.Civ.P. 12 and 59(e), and Local Rule 7-18, for the following orders: (1)
     14   Motion for Judgment on the Pleadings and/or for More Definite Statement re
     15   Damages Post-bankruptcy Settlement; (2) Motion to Reconsider And/or Modify
     16   Pending Orders Herein; and (3) Motion to Stay Proceedings Pending Completion of
     17   Cmx Bankruptcy Settlement Proceedings.
     18          3.   Plaintiff has repeatedly and throughout this litigation alleged that
     19   Defendant is an alter ego for his CMX companies, often to Plaintiffs benefit and
     20   advantage and Defendant's disadvantage.
     21          4. Likewise, the trustees in the bankruptcy proceedings used this alter ego
     22   argument, first to transfer Defendant's Chapter 13 case from Arizona to Delaware,
     23   and then later to have his individual case converted to a Chapter 7, and then settle
     24   with the companies and still pursue him for the exact same alleged conduct.
     25          5. A motion to dismiss by Defendants was rejected by this Court, holding
     26   Defendant Heldman under the presumption that he was CMX as the Plaintiff
     27   claimed.
     28

                                MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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      1           6.    Hence, Plaintiff with unclean hands should be equitably / judicially
      2   estopped from claiming that Defendant is responsible for any damages beyond that
      3   which Plaintiff is obtaining in its bankruptcy settlement; and any such recovery from
      4   him would be entirely duplicative.
      5           7. Notably, the bankruptcy settlement figure was larger than the Plaintiffs
      6   original demand in this action for $700,000 [Exhibit 3]; they should take their pound
      7   of flesh and let that suffice.
      8          8. Alternatively, Plaintiff should be ordered to amend her complaint to
      9   provide a more definite statement re damages remaining beyond the $1 million being
     1O paid to her by the CMX companies under the bankruptcy settlement agreement, order

     11   and Chapter 11 Plan.
     12          9. The existence of actual damages is a material element of the Plaintiffs
     13   remaining claims.
     14           10. In stated opposition to these motions proposed in meet and confer efforts
     15   for these motions, Plaintiffs counsel relies on various discovery, sanctions and
     16   contempt orders issued against ALL defendants prior to the bankruptcy proceedings.
     17           11. The bankruptcy proceedings and the Chapter 11 Plan that provides for a
     18   $1 million settlement involving the CMX companies, after their removal from control
     19   ofDefendant Heldman ["Bankruptcy Settlement"] [Exhibit 1], constitutes substantial
    20    and material changed circumstances warranting reconsideration and modification of
    21    the orders to reflect current realities.
    22            12. In the bankruptcy settlement, all of Plaintiffs claims for liability in this
    23    action were fully settled, with the agreed damages payment of $1 million; no liability
    24    issues remain.
    25            13.    In the meet and confer for this motion, Plaintiffs counsel cites this
    26    Court's Order [08.17.20] [Docket 26] that liability against Defendant Heldman is
    27    predicated on his role as company officer, which means that it is the same now settled
    28    liability claims asserted against the companies.
                                  MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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      1             14. Plaintiffs counsel is now also asserting the continued vitality and
      2   enforceability of pre-Bankruptcy Settlement orders in 2022, involving enforcement
      3   of discovery and discovery orders when liability and damages claims against ALL
      4   defendants were still in issue, and the remedial orders were premised on the realities
      5   and status of the case and claims at that time; this is obviously no longer the case.
      6             15. Plaintiff counsel is also engaging in new discovery from social media
      7   entities, including new third party subpoenas on social media companies to gain
      8   personal information on me and Defendants' former pre-bankruptcy counsel which
      9   is now escalated to a motion, and threatening new contempt motions, again all
     10   premised on the dated and no longer applicable pre-Bankruptcy Settlement 2022
     11   orders.
     12             16. In summary, the discovery, sanctions and contempt orders were premised
     13   on needs in connection with litigating the liability claims against the companies,
     14   which are now settled, obviating the needs.
     15             17. It is undisputed I was the sole and complete controller of all of the
     16   company business, conduct and actions, again obviating any of those needs.
     17             18. Given the bankruptcy settlement with the CMX companies, the material
     18   changed circumstances involving all Defendants as discussed above and below, and
     19   in the absence of any damages beyond same, there is no current and remaining legal
    20    or factual basis or justification for the sweeping and intrusive discovery demands
    21    which were the basis for the orders when all damages claims were still in issue.
    22              19. All of the orders were necessarily remedial in nature, designed only to
    23    effect litigation requirements at that time, which now longer exist.
    24              20. In the absence of the above sought more definite statement, and any
    25    factual justification therefor, and the legal and factual sufficiency of same, there is no
    26    remaining justification for the earlier orders in their current form and content, if at all.
    27              21. The pre-bankruptcy orders also occurred at a time when I had relapsed in
    28    my lifetime struggle with alcohol addiction and underlying anxiety issues.
                                  MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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     1          22. One consequence thereto was the loss of control of the CMX companies
     2   to a bankruptcy trustee, who then effected the aforementioned Bankruptcy Settlement;
     3   another consequence is my complete loss of my sole source of income, by which I
     4   supported myself and my now 81-year old mother who suffers from multiple health
     5   issues. I am the sole caretaker of my mother.
     6          23. This alcohol abuse condition has since been obviated. See Declaration
     7   of Meir J. Westreich with attached updated exhibits from treating psychiatrist.
     8   [Attached hereto as Exhibit 2].
     9          24. Exhibit 2 clearly reflects that I am actively addressing the alcohol abuse
    1o issues, including underlying issues in my psychiatric treatment and had made great

    11   progress.
    12          25. This too is now a material changed circumstance since the orders.
    13          26. The orders should be dissolved or terminated on grounds that the bases,
    14   needs and justifications therefor are now moot.
    15          27. At minimum the orders must be fully reviewed in light of current factual
    16   and legal conditions, and materially altered and down-sized to reflect current realities,
    17   once the Plaintiffs showing in Paragraph 6# occurs and is approved by and in the
    18   course of necessary court proceedings.
    19          28.   Plaintiff has obtained a      substantial $1 million settlement       m th
    20   bankruptcy action, and CMX waiver of the $65,000 Anti-Slapp fee order, far in
    21   excess of any previously claimed damages in this federal action, but which will not
    22   be fully paid for another 3+ years [Attached as Exhibit 3].
    23          29. Plaintiffs current ballooned damages claims beyond that $1 million are
    24   entirely speculative and based on prospective assumptions, and Plaintiff is not
    25   entitled to double recover on damages being paid in the settlement.
    26          30. Again, the Bankruptcy Settlement figure was far larger than the Plaintiffs
    27   original demand in this action; I was stripped entirely of my ownership rights in the
    28

                                MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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     1   CMX companies pending conclusion of the Bankruptcy Settlement proceedings; and,
     2   hence, I have no assets or means of income until the companies are restored to me.
     3           31.    Conversely, I once built the companies to substantial financially
     4   successful venturers, so much so that they will be able to pay the bankruptcy
     5   settlement and enabled me to pay hundreds of thousands of dollars in misdirected
     6   legal fees .
     7           32. I will recover the companies after the five year bankruptcy plan and
     8   settlement payoff.
     9           33. Hopefully, I would again be enabled to afford counsel.
                 34. I also rely on the previously filed Declaration of Meir J. Westreich, Esq.
    11   and psychiatrist letter re the sanctions motions, for the equitable considerations raised
    12   therein, both regarding Defendant's health recovery and the conduct of opposing
    13   counsel herein.
    14           35. A stay of these proceedings would enable the parties and the court to
    15   determine the following: (a) the precise recovery amount by Plaintiff from the CMX
    16   companies; (b) any actual additional damages which might in fact accrue in the
    17   interim; (c) any duplication and other equitable defenses; and (d) avoidance of
    18   wasteful and potentially unnecessary litigation expenses and judicial resources in the
    19   interim.
    20           36. This is a unique litigation situation that demands equitable handling.
    21                        MEET AND CONFER COMPLIANCE
    22           37. This motion is made following meet and confer efforts [L.R. 7-3].
    23           I declare under penalty of perjury that the above is true and correct. Executed
    24   on January 31, 2025 at Scotsdale, Arizona.
    25

    26                                                   Edward Heldman III
    27

    28
                                MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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     1                                     MEMORANDUM
     2          Judicial estoppel "precludes a party from gaining an advantage by asserting
     3   one position, and then later seeking an advantage by taking a clearly inconsistent
     4   position." Hamilton v. State Farm Fire & Casualty Co., 270 F.3d 778, 782 (9 th Cir.
     5   2001 ). A party's later position must be "clearly inconsistent" with its earlier position;
     6   and assertion of an inconsistent position would derive an unfair advantage or impose
     7   an unfair detriment on the opposing party if not estopped. See New Hampshire v.
     8   Maine, 532 U.S. 742, 750-51 (2001) (citations omitted). "[J]udicial estoppel is an
     9   equitable doctrine, invoked by a court at its own discretion, and driven by the specific
    10   facts of a case." Johnson v. State of Oregon, 141 F.3d 1361, 1368 (9 th Cir. 1998).
    11   Contradictory contentions herein re Defendant Heldman as alter ego of CMX
    12   companies who ave now settled with Plaintiff must be considered.
    13          Rule 12(c) of the Federal Rules of Civil Procedure permits a party to move
    14   for judgment on the pleadings "[a]fter the pleadings are closed - but early enough
    15   not to delay trial." Fed. R. Civ. P. 12(c). "Judgment on the pleadings is proper when,
    16   taking all allegations in the pleading as true, the moving party is entitled to judgment
    17   as a matter oflaw." Stanley v. Trs. of Cal. State Univ., 433 F.3d 1129, 1133 (9th Cir.
    18   2006). The pleadings herein are closed but a major change in the events plead have
    19   occurred with the Bankruptcy Settlement which awards more damages than claimed
    20   prior to bankruptcy. Fed.R. Civ. P .12(e) allows a party may move for a more definite
    21   statement of a pleading to which a responsive pleading is allowed but which is so
    22   vague or ambiguous that the party cannot reasonably prepare a response. There is no
    23   pleading basis now on which to defend damages issues after the Bankruptcy
    24   Settlement of $1 million.
    25          Under Local Rule 7.18: "A motion for reconsideration of an Order on any
    26   motion or application may be made only on the grounds of . . . (b) the emergence of
    27   new material facts ... occurring after the Order was entered, ... " Pyramid Lake
    28   Paiute Tribe ofIndians v. Hodel, 882 F.2d 364,369 n. 5 (9 th Cir.1989). A court may
                                MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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     1   also reconsider pursuant to Federal Rule of Civil Procedure 59(e) to address clear
     2   error or an order which is "manifestly unjust" or where orders are inconsistent." See
     3   Harris v. Rand, 682 F.3d 846, 849, 852 (9 th Cir. 2012). A major change in the facts
     4   and circumstances have occurred with the Bankruptcy Settlement which awards more
     5   damages than claimed prior to bankruptcy.
     6          Prior orders herein are governed by the doctrine of the "law of the case" which
     7   and the impact of the doctrine varies ifthere is new or different evidence, such as the
     8   occurrence of the Bankruptcy Settlement and complete resolution of all claims
     9   involving the CMX entities. See Stacy v. Colvin, 825 F.3d 563, _        (9 th Cir. 2016);
    10   Disimone v. Browner, 121 F.3d 1262, 1266 (9 th Cir. 1997). The Court must consider
    11   whether other changed circumstances exist or a manifest injustice would otherwise
    12   result. Thomas v. Bible, 983 F.2d 152, 155 (9 th Cir. 1993). A major change in the
    13   facts and circumstances have occurred with the Bankruptcy Settlement which awards
    14   more damages than claimed prior to bankruptcy.
    15          Under Fed.R.Evid. 801: "(d) Statements That Are Not Hearsay. A statement
    16   that meets the following conditions is not hearsay: . . . (2) An Opposing Party's
    17   Statement. The statement is offered against an opposing party and: (A) was made by
    18   the party in an individual or representative capacity; (B) is one the party manifested
    19   that it adopted or believed to be true; (C) was made by a person whom the party
    20   authorized to make a statement on the subject; (D) was made by the party's agent or
    21   employee on a matter within the scope of that relationship and while it existed; ... "
    22   Statements in settlement briefs submitted by opposing counsel on behalf of Plaintiff
    23   are not hearsay and are admissible in this motion.
    24          This Court "may take judicial notice of undisputed matters of public record,
    25   Lee v. City ofLos Angeles, 250 F.3d 668,689 (9 th Cir.2001), including documents on
    26   file in federal or state courts. See Bennett v. Medtronic, Inc., 285 F .3d 801, 803 n. 2
    27   (9 th Cir.2002)." Harris v. County of Orange, 682 F.3d 1126, 1132 (9 th Cir. 2012).
    28   This includes records of and events in the bankruptcy courts.
                                MOTIONS FOR ruDGMENT ON THE PLEADINGS, ETC.
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     1                                    CONCLUSION0
     2          Defendant Heldman therefor requests entry of one or more of the alternative
     3   orders sought.
     4   Dated: January 31, 2025                        Respectfully submitted,
     5
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                                                              ~
                                                        Edward Heldman III, Pro Per
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                              MOTIONS FOR JUDGMENT ON THE PLEADINGS, ETC.
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      1                                 PROOF OF SERVICE
      2
      3
          STATE OF ARIZONA
          COUNTY OF MARICOPA
                                                 l   ss
      4         I, the undersigned, certify that I am a citizen of the United States, over the
      5   age of 18 years, residing in the County of Maricopa, State of Arizona.
      6         On January 31, 2025, I caused to be served a true copy of
      7
                MOTION NOTICE OF MOTION AND MOTION FOR JUDGMENT ON
      8         THE PLEADINGS AND/OR FOR MORE DEFINITE STATEMENT
                POST-BANKRUPTCY· MOTION TO RECONSIDER ALL PENDING
      9         PRE-BANKRUPTCY ORDERS· MOTION TO STAY ACTION PENDING
                COMPLETION OF BANKRUPtCY CHAPTER 11 PLAN'S DAMAGES
     10         PAYOlJli DECLARATION OF EDWARD HELDMAN III ;
                MEMO.lV\.NDUM; EXHIBITS
     11
          on the Plaintiff by e-mail, whose address is:
     12

     13
          Milord A. Keshishian
          Milord Law Group, PC
     14   333 S. Hope Street, Suite 4025
          Los An_gefes, CA 90071
     15
          milord@milordlaw.com

     16         I declare under penalty of perjury that the above is true and correct.
     17         Executed
     18   on January 31, 2025, at Sun City, Arizona.
     19

    20
                                                 Edwar~man III- In Pro Per
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